
32 N.Y.2d 823 (1973)
In the Matter of British Overseas Airways Corporation, Respondent,
v.
International Association of Machinists and Aerospace Workers, AFL-CIO ("IAM") et al., Appellants.
Court of Appeals of the State of New York.
Argued March 20, 1973.
Decided May 4, 1973.
Stephen C. Vladeck and Allan M. Frost for appellants.
Murray Gartner for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order reversed, with costs in all courts, on the dissenting opinion at the Appellate Division, the petition dismissed and the arbitration award confirmed.
